           Case 3:23-cr-02507-KC Document 1 Filed 12/20/23 Page 1 of 2
                                                                                        FILED
                                                                                December 20, 2023

                          UNITED STATES DISTRICT COURT                        CLERK, U.S. DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                     WESTERN DISTRICT OF TEXAS
                                                                                  By:     DT
                                 EL PASO DIVISION                                                Deputy Clerk


UNITED STATES OF AMERICA,                         §
                                                  §   SEALED
       Plaintiff,                                 §
v.                                                §             Case No: EP:23-CR-02507-KC
                                                  §
JESUS RODRIGUEZ DE LA CRUZ,                       §
                                                  §
       Defendant.                                 §


                    GOVERNMENT’S MOTION TO SEAL INDICTMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and files this its Motion to Seal Indictment in the above-styled cause

and would show the Court as follows:

       On or about December 20, 2023, a federal grand jury sitting in this District returned a True

Bill of Indictment, charging the above-named defendant in the above-numbered cause. The

disclosure of the existence of the indictment may jeopardize the ability of law enforcement officers

to locate and apprehend the defendant without incident. The Government therefore seeks an Order

of the Court placing the Indictment and related documents concerning the above-named Defendant

in the above-numbered cause under seal, until the Defendant is arrested. When the Defendant is

arrested, the Indictment and related documents will be unsealed.
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       Accordingly, the United States respectfully requests that the Indictment in the above-

entitled and numbered cause and this Motion and the proposed Order be sealed until further order

of the Court or until the Defendant is arrested.


                                              Respectfully submitted,

                                              JAIME ESPARZA
                                              UNITED STATES ATTORNEY


                                       By:    _________________________________
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